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16   JOSEPH RUIZ, TYLER GOTHIER,
     JENI VERDON-PEARSONS,                    DEFENDANTS’ MEMORANDUM OF
17   MICHAEL STORC, AND TRAVIS                POINTS AND AUTHORITIES IN
     MAY,                                     RESPONSE TO THE COURT’S
18                                            ORDER TO SHOW CAUSE RE
                Plaintiffs,                   PRELIMINARY INJUNCTION AND
19                                            DECLARATIONS OF STEPHEN J.
                       v.                     JOBE, JESSIE MURRAY AND
20                                            VICTOR A. RODGERS
     UNITED STATES OF AMERICA, ET
21   AL.,
22              Defendants.
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendants respectfully request that plaintiffs’ motion for a preliminary injunction
 4   be denied. Gete v. I.N.S., 121 F.3d 1285 (9th Cir. 1997) and plaintiffs’ other cases do
 5   not stand for the proposition that due process requires that the FBI’s May 2021 notice
 6   announcing the commencement of administrative forfeiture proceedings, standing alone,
 7   must set forth the factual details and legal basis that support forfeiture. Instead, the cases
 8   hold that these details must be provided before an agency makes a final decision
 9   forfeiting an asset, so that a person has a meaningful opportunity to respond to a
10   threatened forfeiture. Plaintiffs cannot--with the mere flick of a pen--expand Gete’s
11   scope when the Ninth Circuit held that due process related to the conduct of an
12   administrative proceeding from beginning to end in its entirety.
13         Plaintiffs failed to advise in their TRO application that two of the moving
14   plaintiffs had already submitted a claim to the FBI one week before the application was
15   filed and therefore faced no looming June 25, 2021 deadline as they argued to support
16   their emergency relief request, nor had any difficulty in responding to the FBI’s notice
17   because they did so before seeking TRO relief. Regardless of that oversight that resulted
18   in consideration of complex constitutional and asset forfeiture issues on an unnecessarily
19   rapid basis, the point is that submitting a claim ensures that the government must apprise
20   the submitter of all the facts and legal bases for forfeiture, including the criminal statute
21   violated, before civilly forfeiting an asset. Upon receipt of a claim and by law, the
22   administrative agency must suspend the administrative proceedings (meaning that it
23   cannot issue a final judgment forfeiting an asset) and refer the matter to the United States
24   Attorney’s Office (the “USAO”). Pursuant to 18 U.S.C. § 983(a)(3)(A) & (B), if the
25   USAO fails to file a complaint for forfeiture within 90 days after the agency receives the
26   claim, the government must promptly release the property. As far as due process is
27   concerned, the complaint, and the judicial proceedings after the complaint is filed,
28   provide notice of all the facts and legal bases for forfeiture, including the specific

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 1   criminal statute violated, so that persons opposing forfeiture will have a meaningful
 2   opportunity to respond before being deprived of their property by a court judgment. The
 3   conduct of judicial forfeiture proceedings do not violate due process.
 4          Further, submitting a claim preserves the submitter’s right to contest the forfeiture
 5   in court and to submit a petition to the administrative agency for agency review, so the
 6   recipient of the forfeiture notice has the right to obtain adjudication in both forums on
 7   the merits by simply submitting a claim. Moreover, a person contesting forfeiture in the
 8   judicial proceeding can obtain in discovery the government’s basis for seizing an asset
 9   and commencing administrative forfeiture proceedings, and can raise any defenses (such
10   as Fourth and Fifth Amendment defenses) they have to the property’s forfeiture.
11         The FBI forfeiture notice is merely meant to notify recipients of their options to
12   recover property; it is not intended to be an exhaustive list of the facts and details.
13   (Indeed, a more specific FBI notice would confuse matters because the operative judicial
14   complaint necessarily must set forth the key facts and legal details). Accordingly, this
15   case falls more squarely within the facts of the Supreme Court’s decision in City of West
16   Covina v. Perkins, 525 U.S. 234 (1999), rather than Gete, where the Supreme Court held
17   due process only requires a notice that informs of the options in seeking the return of
18   property. Also, while no case holds that a forfeiture notice, like the notice here that does
19   not detail the facts or criminal statute violated and is sent pursuant to the 28 C.F.R. Part
20   8 and 9 regulations involved here violates due process, there are cases that discuss Gete
21   and hold that a forfeiture notice sent under those regulations does satisfy due process.
22         Plaintiffs have not shown a likelihood of success on the merits or irreparable
23   injury. The government therefore respectfully requests that their motion be denied.
24   II.   PLAINTIFFS ARE NOT LIKELY TO PREVAIL ON THE MERITS.
25         A.     The FBI’s May 20, 2021 Notice Of The FBI’s Commencement Of
26                Administrative Forfeiture Proceedings.
27         On May 20, 2021, the FBI initiated in rem administrative forfeiture proceedings as
28   to the contents of particular identified boxes that were seized during March 2021 at U.S.

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 1   Private Vaults (“USPV”), including the contents of boxes of plaintiffs Jeni Verdon-
 2   Pearsons (“Verdon-Pearsons”), Michael Storc (“Storc”) and Travis May (“May”), by
 3   sending a notice letter to USPV. Docket No. 44-8 (Johnson Decl. Ex. G at pages 20-40);
 4   Docket No. 45 (gvt.’s oppo. to TRO [FBI Supervisory Special Agent Murray Decl. ¶ 2]
 5   at page 37 of 37). In addition, the FBI sent notice letters on May 20 and 21, 2021 to
 6   May, Verdon-Pearsons and Storc, respectively, to notify them that administrative
 7   forfeiture proceedings had been initiated on contents of their boxes. Docket Nos. 44-9,
 8   44-10 and 44-11 (Johnson Decl. Exs. H, I and J); Declaration of Stephen J. Jobe, Unit
 9   Chief, Legal Forfeiture Unit, Office of the General Counsel, FBI in Washington, D.C.
10   ¶¶ 7 and 7b (May), 7c (Verdon-Pearsons) and 7e (Storc). As explained in Section II.E.
11   below, the purpose of the notice a federal agency, like the FBI, sends to recipients
12   informing them of the commencement of in rem administrative forfeiture proceedings is
13   to advise the recipients of the options available to seek the return of their property; it is
14   not a final decision announcing that property has been forfeited, but instead is the
15   beginning of the process, merely initiates forfeiture proceedings, and informs the
16   recipients they may submit claims and petitions to the federal agency (here, the FBI) and
17   advises of the consequences of doing so.
18         B.     Plaintiffs Sought A TRO That They Admitted Had No Immediate
19                Impact And Failed To Advise In Their Moving Papers That Two Of
20                The Moving Plaintiffs Faced No June 25, 2021 “Looming Deadline” As
21                They Claimed To Support Their Emergency Relief Request, Because
22                Those Plaintiffs Had Submitted A Claim To The FBI One Week Before
23                The June 15, 2021 TRO Application Was Filed.
24         Plaintiffs stated in their TRO application “[t]o be clear, the requested temporary
25   restraining order would not necessarily bar the government from forfeiting the contents
26   of any USPV box. The order would simply bar the government from forfeiting the
27   contents of USPV boxes based on civil forfeiture notices that fail to state the factual or
28   legal basis for the forfeiture.” Docket No. 44 (plaintiffs’ June 15, 2021 TRO application

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 1   11:3-6) (emphasis in original). The government has not filed any judicial civil forfeiture
 2   actions either as to the plaintiffs covered by the Court’s June 22, 2021 ruling (Verdon-
 3   Pearson, Storc and May) or property claimed by anyone else (such as Ruiz), nor had the
 4   government planned to do so as of the time of plaintiffs’ TRO filing.
 5         The reasons are that the 90-day deadline for the government to file a judicial
 6   complaint set forth in 18 U.S.C. § 983(a)(3)(A) & (B) does not expire until mid-August
 7   2021 at the earliest (for claims submitted in mid-June), there are no pending
 8   administrative petition proceedings underway as to Verdon-Pearson, Storc, May or Ruiz
 9   (Jobe Decl. ¶ 10) that would enable the government to civilly forfeit the assets they
10   claimed, and the deadline to file claims (which deadline must pass before civilly
11   forfeiting assets in administrative proceedings when no claim is filed) will not expire at
12   the earliest before August 3, 2021 as to the first wave of USPV seizures the FBI posted
13   on the internet on June 4, 2021 (Docket No. 45 [gvt.’s oppo. to TRO (Murray Decl. ¶ 3)
14   at page 37 of 37]). In addition, when judicial forfeiture proceedings go forward in the
15   future against property for which a claim has been submitted to the FBI such as Verdon-
16   Pearson, Storc, May and Ruiz (see Jobe Decl. ¶ 8a [May], 8b [Verdon-Pearsons], 8c
17   [Ruiz] and 8d [Storc]), the government must necessarily provide more details regarding
18   the factual and legal basis for forfeiture--the government’s complaint would detail all
19   these matters, including the criminal statute violated that supported the forfeiture under
20   the applicable forfeiture trigger statute (e.g., 18 U.S.C. § 981(a)(1)(C)) as the
21   government could not obtain a judgment of forfeiture from a court without doing so. See
22   Rodgers Decl. ¶¶ 2 and 3 and Exs. A and B. Thus, plaintiffs’ request via their TRO and
23   in their current motion for a preliminary injunction that another notice be sent setting
24   forth details is beside the point. Plaintiffs’ June 15, 2021 TRO application and June 17,
25   2021 TRO reply reflected a fundamental misunderstanding of asset forfeiture procedure.
26         In order to justify their request for emergency relief, plaintiffs argued in their June
27   15, 2021 TRO application that the TRO was necessary because they faced June 24, 2021
28   (May) and June 25, 2021 (Verdon-Pearsons and Storc) “looming deadlines” to respond

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 1   to the forfeiture notices (collectively, “the Forfeiture Commencement Proceeding
 2   Notice”) that plaintiffs argued violated due process because the notices did not contain
 3   factual and legal details required by Gete v. I.N.S., 121 F.3d 1285 (9th Cir. 1997), and
 4   made it impossible for plaintiffs to respond thereto by the June 24 and 25 deadlines.
 5   Docket No. 44 (plaintiffs’ TRO app. 3:1-8 and 10:20-11:2) and Docket Nos. 44-9, 44-10
 6   and 44-11 (Johnson Decl. Exs. H, I and J [May 20 and 21, 2021 forfeiture notices]). In
 7   so arguing, however, plaintiffs failed to mention that Verdon-Pearsons and Storc had, in
 8   fact, responded to the forfeiture notice by submitting a claim to the FBI one week earlier
 9   on June 9, 2021 (Murray Decl. ¶ 3 and Exs. A-D; Jobe Decl. ¶¶ 8b and 8d),1 which
10   stopped the administrative forfeiture proceeding as to their property (Jobe Decl. ¶ 9 and
11   28 C.F.R. § 8.10(e)), required the government to file a forfeiture complaint within 90
12   days from the June 9 submission date if the government wished to forfeit their property
13   or else release the property (see 18 U.S.C. § 983(a)(3)(A) & (B)) and preserved their
14   right to have both a judicial and administrative resolution if a judicial complaint was
15   filed. In addition, the judicial complaint and the litigation proceedings thereafter would
16   provide all the facts and details required by due process before any final judgment of
17   forfeiture could be entered. Rodgers Decl. ¶¶ 2 and 3 and Exs. A and B.
18         The government respectfully submits that the June 9, 2021 claim submission
19   information should have been disclosed because it was pertinent to whether this matter
20   needed to be decided by a TRO, particularly when the regulations authorize the FBI to
21   extend deadlines for claims that are timely submitted but are defective for some reason.
22   28 C.F.R. § 8.10(g). The problem with deciding matters on an emergency basis, when
23   there is no actual urgent need to do so, is that it requires the parties and the Court to
24   rapidly resolve and analyze facts and complex legal issues like the due process and asset
25   forfeiture laws and regulations involved here. Plaintiffs’ arguments in their TRO
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              Instead of advising in their moving papers that the June 9, 2021 claims had been
     filed, plaintiffs instead set forth this information in a footnote in their June 17, 2021
28   TRO reply brief, and did not disclose therein the date when the claims had been filed.
     Docket No. 45 (plaintiffs’ TRO reply brief 6:26-28 n.5).
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 1   application regarding Gete and their other cases’ application to the Forfeiture
 2   Commencement Proceeding Notice standing alone are simply wrong.
 3         C.     Gete Does Not Hold That A Single Notice, Such As The FBI Forfeiture
 4                Commencement Proceeding Notice, Must Include The Factual And
 5                Legal Bases That Justify The Forfeiture.
 6                1.     Gete Held That An Administrative Agency Must Provide The
 7                       Factual And Legal Basis For The Forfeiture During The
 8                       Administrative Proceedings And Before The Agency Renders A
 9                       Final Judgment And Decision To Forfeit An Asset.
10         Plaintiffs completely mischaracterized Gete’s holding in their June 15, 2021 TRO
11   application, by falsely arguing that the holding was directed solely to a forfeiture notice.
12   They argued “plaintiffs sued to challenge administrative forfeiture notices sent by INS to
13   property owners” (citing page 1287 in Gete); “[t]he plaintiffs claimed the barebones
14   notice sent by INS did not ‘give sufficient notice concerning the factual and legal bases’
15   for the forfeiture” (citing page 1297 in Gete); and that the “[t]he Ninth Circuit agreed”
16   [and] . . . thus held that due process requires the government to disclose ‘the factual
17   bases for seizures’ as well as ‘the specific statutory provision allegedly violated.’ ”
18   (citing page 1298 in Gete). Docket No. 44 (plaintiffs’ June 15, 2021 TRO app. 15:25-
19   16:5) (emphasis added). But none of this is true.
20         None of these statements appear in Gete at the pages plaintiffs’ cite or anywhere
21   else in the Ninth Circuit’s opinion. 2 Plaintiffs in Gete did not sue merely to challenge a
22   forfeiture notice; instead, the page of the opinion plaintiffs cite notes that the court was
23   considering “administrative review of forfeitures under procedures lacking all semblance
24   of due process” (id. at 1287), which included the multiple events as described in the
25   opinion and not just a single notice. Moreover, the plaintiffs in Gete neither argued that
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           2
             The government recognizes that some of the plaintiffs in Gete made an argument
     regarding the forfeiture notice on remand following the Ninth Circuit’s ruling. See Gete
28   v. INS, 1999 U.S. Dist. LEXIS 11806 (W.D. Wash. Jul. 22, 1999). However, a district
     court decision lacks the precedential value of a Ninth Circuit opinion.
                                                   6
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 1   the forfeiture notice standing alone violated due process, nor characterized the notice as
 2   “barebones” at page 1297 of the opinion, and the Ninth Circuit did not agree or hold that
 3   the factual bases for seizure and the statute identifying the specific crime violated must
 4   be included in a forfeiture notice standing alone that merely commences the
 5   administrative forfeiture proceeding, in order to comport with due process.
 6         After arguing that Gete “held that due process requires the government to disclose
 7   ‘the factual bases for seizures’ as well as ‘the specific statutory provision allegedly
 8   violated’ Id.” [docket No. 44 (plaintiffs’ June 15, 2021 TRO app. 16:3-5)], which (as
 9   explained above) suggested the requirement applied to a forfeiture notice that
10   commences the proceeding standing alone, plaintiffs then argued “[t]he Ninth Circuit’s
11   decision in Al Haramain also applies that due process requirement” [docket No. 44
12   (plaintiffs’ June 15, 2021 TRO app. 16:6-7)], and later argued in their TRO reply brief
13   that Al Haramain “applied Gete to hold that OFAC [the Office of Foreign Assets
14   Control] violated due process by freezing funds without providing notice of the basis for
15   the seizure” [docket no. 46 (plaintiff’s June 17, 2021 TRO reply 4:16-18)], thus again
16   falsely implying that the cases held that due process required that all the factual and legal
17   grounds for a seizure or forfeiture must be contained in a single document sent when an
18   asset is seized or administrative forfeiture proceedings are commenced. That is not true-
19   -none of plaintiffs’ cases hold or imply that due process requires that this information be
20   included in a form forfeiture notice commencing administrative forfeiture proceedings
21   that merely informs recipients of their options for seeking the return of their property.
22          Al Haramain Islamic Foundation, Inc. v. U.S. Dept. of Treasury, 686 F.3d 965
23   (9th Cir. 2012), involved OFAC making final decisions in 2004 to designate and then in
24   2008 to redesignate plaintiff as a terrorist organization and block plaintiff’s assets,
25   without providing any information during the four year period, resulting in plaintiff
26   being “unable to respond adequately to the agency’s unknown suspicions” [id. at 984-85]
27   and the Ninth Circuit in Al Haramain to decide Gete’s reasoning was applicable. Id. at
28   987. The Ninth Circuit stated “the seven-month period of the original investigation, and

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 1   certainly the four-year period of the entire redesignation determination, gave OFAC
 2   ample time to provide [plaintiff] with, at a minimum, a terse and complete statement of
 3   reasons for the investigation. There is no reason why OFAC could not have given notice
 4   in this particular case.” Id. at 986 (footnote omitted).
 5         It is in that context--namely the seven-month and four-year periods after the
 6   OFAC entered final initial designation and redesignate designations of plaintiff as a
 7   terrorist organization (which would be analogous to an administrative agency entering a
 8   final judgment forfeiting an asset, which has not occurred here)--that the Ninth Circuit
 9   discussed Gete, noting that defendant INS had argued in Gete that the ten plaintiff
10   vehicle owners already had a general idea of why their vehicles were seized, so there
11   was no reason for the INS to provide any factual or legal details during the course of the
12   administrative forfeiture proceedings and before entering administrative final judgments
13   forfeiting the plaintiffs’ vehicles. The Ninth Circuit noted in Al Haramain that the Ninth
14   Circuit in Gete had “disagreed” with that INS’ argument in Gete, “and held that the Due
15   Process Clause required the INS ‘to give sufficient notice concerning the factual and
16   legal bases for its seizures.’ . . . We held that the Due Process Clause required the INS to
17   disclose the ‘factual bases for seizure[]’ and ‘the specific statutory provision allegedly
18   violated.’ ” Al Haramain, 686 F.3d at 987 (quoting Gete at 1297-98).
19         The government acknowledges that Gete is good law, and the soundness of Gete
20   and Al Haramain’s due process discussions based on quotes from two Supreme Court
21   decisions, i.e., Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306 (1950) and
22   Goldberg v. Kelly, 397 U.S. 254 (1970), and cited in Gete at 1297. But what the
23   government contends is that neither Gete, Al Haramain, nor any of plaintiffs’ other cases
24   hold, suggest or intimate that the FBI’s single forfeiture notice that merely announces the
25   commencement of administrative forfeiture proceedings standing alone determines
26   whether a due process violation has occurred. That is simply not the law--plaintiffs
27   cases do not hold that, without setting forth all the facts and legal grounds to support
28   commencing an administrative forfeiture proceeding, a two page forfeiture notice

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 1   violates due process notice requirements particularly where, as here, the government will
 2   be providing all the factual details and legal bases later and long before any final
 3   decision to forfeit any property is made or a person must respond on the merits to the
 4   government’s arguments regarding why the property should be forfeited.
 5         It is the totality of the events from beginning to end, and not a discrete step along
 6   the way, that determines whether a due process violation has occurred. Plaintiffs’
 7   argument, made by way of a TRO application expressing an urgent need for immediate
 8   relief when none existed, concerning Gete’s scope is breathtaking.
 9         Plaintiffs’ argument, relying upon Al Haramain and additional cases that a notice
10   must be sent when an asset is seized is similarly a non-starter. 18 U.S.C.
11   § 983(a)(1)(A)(i), which is part of the Civil Asset Forfeiture Reform Act of 2000 (the
12   “CAFRA”), provides that notice of the commencement of an administrative forfeiture
13   need not be sent until 60 days after an asset is seized. In addition, if the identity or
14   interest of a party is not determined until after the seizure but before the agency issues a
15   declaration of administrative forfeiture, notice of the commencement of administrative
16   forfeiture must be sent within 60 days after the government determines the identity of the
17   party or that party’s interest in an asset. 18 U.S.C. § 983(a)(1)(A)(v). Plaintiffs’ cases
18   dealing with proceedings not governed by the CAFRA are irrelevant. 3
19                2.     The Ninth Circuit’s Extensive Discussion In Gete Of
20                       The Facts And Events In The INS Administrative Forfeiture
21                       Proceedings Reveals The Error In Plaintiffs’ Arguments.
22         Gete involved the seizure and administrative forfeiture by the INS where the Ninth
23   Circuit was concerned that the INS was making final decisions forfeiting vehicles in
24         3
              Plaintiffs other cases are also unavailing. KindHearts for Charitable
25   Humanitarian Dev. Inc. v. Geithner, 647 F. Supp. 2d 857 (N.D. Ohio 2009), involved the
     failure to disclose for three years the reasons for blocking assets; the case does involve
26   the contents of a notice of the initiation of administrative forfeiture proceedings under
     the statutes and regulations at issue here. As to Sandoval v. County of Sonoma, 912
27   F.3d 509 (9th Cir. 2018), Brewster v. Beck, 859 F.3d 1194 (9th Cir. 2017) and Ordonez
     v. Stanley, 495 F. Supp. 3d 855 (C.D. Cal. 2020), the government incorporates here the
28   arguments it set forth in opposing the TRO. Docket No. 45 (gvt.’s TRO opposition at
     15:1-28).
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 1   administrative proceedings that lacked any procedural safeguards. The Ninth Circuit
 2   discussed in detail the entirety of those administrative proceedings from beginning to
 3   end, as set forth below. The lawsuit was brought by ten plaintiffs whose vehicles were
 4   seized by the INS for allegedly having been used to transport illegal aliens into the
 5   United States in violation of federal law. Id. at 1287-1289. After a vehicle was seized,
 6   an INS form letter advised the vehicle owners that they were given the option to either
 7   contest the forfeiture in court or administratively by a “personal interview” with an
 8   immigration officer which was the “heart of the [administrative] forfeiture proceeding.”
 9   Id. at 1290. In other words, by choosing the INS administrative forfeiture procedure
10   option, the vehicle owner could not have a court decide the forfeiture issue on the merits;
11   instead, the owner was at the mercy of the INS administrative process because “the
12   merits of those decisions generally fall within the agency’s sphere of unreviewable
13   discretion.” Id. at 1291.
14         If the interviewing immigration officer decided during the personal interview that
15   probable cause did not exist to seize the vehicle or that forfeiture was not warranted
16   because the vehicle had not been used to transport illegal aliens (i.e., no criminal
17   violation had occurred), the INS was required to return the vehicle. Id. at 1290. If the
18   officer decided that a criminal violation had occurred but the owner established that the
19   owner was not privy to the illegal use of the vehicle, the INS Regional Commissioner
20   had the discretion to either forfeit or return the vehicle to the owner. Id. Once the INS
21   determined that a vehicle was forfeited, the INS issued a declaration to that effect
22   without providing any explanation or statement of reasons therefor. Id.
23         After the vehicle was declared forfeited, the owner could file a petition that the
24   forfeiture be remitted and the vehicle returned, and a petition for mitigation requesting
25   that the property be returned upon payment of a fine. Id. When denying the petition
26   request, the INS Regional Commissioner was required to issue a written determination
27   setting forth the reasons for the denial, but in actual practice provided the petitioner with
28   nothing more than a form rejection listing standard reasons for denying the petition, with

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 1   check marks next to those the Commissioner considered applicable to the case. Id. at
 2   1291. In addition, the petitioner could file a single request for reconsideration within ten
 3   days of the rejection of the petition, but that request had to be based on evidence not
 4   previously considered. Id. After the ten days elapsed, there was no further review of the
 5   decision in any forum. Id.
 6         In discussing the deficiencies in the INS administrative procedure, the Ninth
 7   Circuit noted that plaintiffs had produced evidence confirming that the INS’ failure to
 8   give sufficient notice concerning the factual and legal bases for its seizures precluded the
 9   vehicle owners from effectively responding at the “personal interview” with the
10   immigration officer who made forfeiture decisions, and the INS’ refusal to provide
11   access to seizing officer reports and related documents had a similar effect and also
12   limited the vehicle owners ability to prepare petitions for remission, mitigation and for
13   reconsideration. Id. at 1297. Additionally, plaintiffs showed that the INS’ failure to
14   provide an explanation of the reasons for its forfeiture decision “even more drastically
15   affects their preparation of post-forfeiture petitions.” Id.
16         Based on these facts and the evidentiary showing made by the ten plaintiffs in
17   Gete, the Ninth Circuit concluded that a due process violation had occurred and required
18   the INS to provide additional facts, details and other evidence to the vehicle owners
19   before the INS issued a final ruling declaring a vehicle forfeited. Id. at 1298. In other
20   words, based on the proffered evidence regarding the proceedings in their entirety, the
21   court concluded that the INS administrative review process occurred “under procedures
22   lacking all semblance of due process.” Gete, 121 F.3d at 1287. Far from confining the
23   analysis to a single notice letter that informed owners of their options as is involved in
24   the instant case, the Ninth Circuit explained that as part of the administrative process the
25   INS should provide vehicle owners with the evidence to be used against them, including
26   officer reports detailing the facts, and set forth the specific statute allegedly violated, so
27   that the vehicle owners during the course of the INS administrative proceedings would
28   be allowed to clear up simple misunderstandings, rebut erroneous inferences drawn by

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 1   the INS, understand the true nature of the INS charges against them, and be given an
 2   opportunity to prepare a proper defense to the threatened forfeiture. Id. at 1298.
 3         In light of these facts concerning how the administrative proceedings had been
 4   conducted as to the ten plaintiffs in Gete, and citing Goldberg, 397 U.S. at 267 for the
 5   proposition due process requires, at a minimum, the “opportunity to be heard . . . at a
 6   meaningful time and in a meaningful manner,” and Mullane, 339 U.S. at 314, for the
 7   principle that due process requires that notice be “reasonably calculated, under all the
 8   circumstances, to apprise interested parties of the pendency of the action and afford them
 9   an opportunity to present their objections” (Gete, 121 F.3d at 1297 [internal quotes
10   omitted]), Gete held that the INS administrative proceedings in their totality did not
11   satisfy due process. However, the Ninth Circuit in Gete did not hold that the initial
12   forfeiture notice that informs the recipient of his options to proceed administratively or
13   judicially must contain all that information to pass constitutional muster. Unlike in Gete,
14   plaintiffs have neither provided evidence of any administrative proceeding in progress
15   and during which the FBI either was empowered to or rendered a final ruling declaring
16   property forfeited or denied post-forfeiture petitions for remission, mitigation or
17   reconsideration, in violation of due process, and the evidence illustrates there is no such
18   proceeding (Jobe Decl. ¶ 10). The reason for plaintiffs’ evidentiary deficiency makes
19   clear why Gete does not apply to the mere forfeiture notice here--upon the submission of
20   the claims (and plaintiffs have done so here; Murray Decl. ¶ 3 and Exs. A-F and Jobe
21   Decl. ¶ 8a-d), the FBI must stop its activities and is precluded from issuing a declaration
22   administratively forfeiting an asset. Jobe Decl. ¶ 9 and 28 C.F.R. § 8.10(e). Plaintiffs’
23   reliance on Gete and its progeny to support their argument that the Forfeiture Proceeding
24   Commencement Notice standing alone violates due process, is thus wholly misplaced.
25         D.     The INS Regulations Involved In Gete Are Materially Different From
26                The Regulations At Issue Here.
27         There are additional reasons Gete does not aid plaintiffs here. The regulations
28   pertinent to the instant case are 28 C.F.R. Part 8 and 9, which reflect the following.

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 1   Once the agency that issues a notice of the commencement of administrative forfeiture
 2   proceedings, like the FBI Commencement Proceeding Notice, receives a valid claim, the
 3   agency must “suspend the administrative forfeiture proceeding” as to the asset and refer
 4   the matter to the USAO (28 C.F.R. § 8.10(e); see also Jobe Decl. ¶ 9), which means that
 5   the agency cannot enter a final decision declaring the asset administratively forfeited
 6   under 28 C.F.R. § 8.12, i.e., the equivalent of a court judgment of forfeiture in a judicial
 7   case (id. and see also 19 U.S.C. § 1609), and the government must “promptly release”
 8   the property if the USAO does not file an in rem judicial civil forfeiture complaint
 9   naming the asset as the defendant within 90 days after the agency received the claim in
10   the administrative forfeiture proceedings (see 18 U.S.C. § 983(a)(3)(A) & (B)).
11         What distinguishes the 8 C.F.R. Part 274 forfeiture regulations at issue in Gete
12   from the 28 C.F.R. Part 8 and 9 regulations involved here and shows that the FBI’s
13   notice letter complies with due process, is that under the 28 C.F.R. Part 8 and 9
14   regulations, the submitter’s mere submission of a claim to the administrative agency
15   preserves the submitter’s right to, upon receipt of the judicial complaint that outlines all
16   the facts and legal details, contest the forfeiture in Court (by filing a claim contesting
17   forfeiture in the judicial proceedings) and to submit a petition for remission to the
18   agency. Rodgers Decl. ¶¶ 2 and 3 and Exs. A and B. This is in sharp contrast to the INS
19   regulations involved in Gete, because the INS regulations involved there prohibited
20   vehicle owners from having a Court decide the forfeiture issue on the merits but instead
21   left the vehicle owners to the mercy of the INS administrative process because “the
22   merits of those decisions generally fall within the agency’s sphere of unreviewable
23   discretion” (id. at 1291 [citations omitted]; see also 5 U.S.C. § 701(a)(2)), which is not
24   subject to judicial review unless the vehicle owner could meet the high standard of
25   proving the INS’ forfeiture decision on the merits was “arbitrary, capricious, an abuse of
26   discretion, or otherwise not in accordance with law” (5 U.S.C. § 706(2)(A)).
27         The procedures here are different. By submitting to the FBI just a claim to contest
28   the forfeiture of an asset, the submitter preserves the right to later contest forfeiture in

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 1   the judicial forfeiture proceedings and submit a petition for remission when the USAO
 2   files an in rem judicial civil forfeiture complaint against the asset. The judicial forfeiture
 3   complaint will set forth the factual and legal basis for the forfeiture, including both the
 4   specific criminal statute violated and the forfeiture statute that permits forfeiture of the
 5   defendant asset based on the violated criminal statute. Rodgers Decl. ¶¶ 2 and 3 and
 6   Exs. A and B. In addition, the complaint will be served with a letter that advises the
 7   letter recipient that they can file a claim in court and submit a petition for remission or
 8   mitigation for decision by a federal agency (id.), and petitions for remission or mitigation
 9   are not decided until the property is forfeited, after the judicial action has concluded.4
10   Furthermore, providing factual and legal details in a form forfeiture notice would merely
11   confuse the recipient because the forfeiture of the asset will be decided on the facts and
12   laws as set forth in the judicial action, which will likely not be exactly the same as the
13   information contained in a form administrative agency forfeiture commencement notice.
14         In fact, because adjudication of the forfeiture issue is resolved only after a court
15   proceeding when a claim is submitted to the FBI, and the government must prove its
16   case in Court, plaintiffs argument boils down to an assertion that a future judicial
17   forfeiture proceeding will be unfair and violate due process because the government will
18   not advise them of the facts and law (and the Court will permit the government not to
19   advise them of the same), sufficient to allow them to defend the action. No judicial case
20   has been commenced, and plaintiffs can obtain whatever discovery they deem necessary
21   in the judicial proceeding to find out the basis for the seizure and the commencement of
22   administrative and judicial forfeiture proceedings; no argument has (or can) be made that
23   plaintiffs should be entitled to injunctive relief where, as here, they offer no evidence
24   and instead proffer speculation about future events that have not even occurred.
25
26
           4
             See 28 C.F.R. § 9.4(a) (noting that petitions are considered any time after notice
     but before the disposition of “forfeited” property); 28 C.F.R. § 9.5(a)(1) (remission of a
27   “forfeiture” will occur if the petitioner establishes certain facts); Asset Forfeiture Policy
     Manual (2021) at pages 164-65, located at https://www.justice.gov/criminal-
28   afmls/file/839521/download (federal agency will “adjudicate the petition in a judicial
     forfeiture, but only after the claim is resolved”).
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 1         E.     THE PERTINENT AUTHORITIES, INCLUDING THE UNITED
 2                STATES SUPREME COURT’S DECISION IN CITY OF WEST
 3                COVINA v. PERKINS, SHOW THAT THE FBI’S FORFEITURE
 4                NOTICE SATISFIES DUE PROCESS.
 5         As set forth above, Gete and plaintiffs’ other cases do not show that the Forfeiture
 6   Commencement Proceeding Notice violates due process. That is sufficient reason to
 7   deny the request for a preliminary injunction. But that argument does not stand alone--
 8   denial of plaintiffs’ motion is proper for the additional reason that caselaw upholding
 9   similar forfeiture notices proves that no due process violation has occurred here.
10         Plaintiffs have not cited a single case, because there is none, holding that a notice
11   of the commencement of administrative forfeiture under the 28 C.F.R. Part 8 and 9
12   regulations (like the FBI Forfeiture Commencement Proceeding Notice), standing alone,
13   violates due process based on the reasoning of Gete. No Ninth Circuit or any other case
14   holds that the forfeiture notice initiating administrative forfeiture proceedings under
15   these regulations must include the factual and legal basis for the forfeiture and the
16   underlying criminal statute violated. However, there are cases holding that 28 C.F.R.
17   Part 8 and 9 forfeiture notices announcing the commencement of administrative
18   forfeiture proceedings, like the FBI Forfeiture Commencement Proceeding Notice, do
19   not run afoul of Gete’s due process ruling.
20         A case directly on point is United States v. 24 Firearms From Various
21   Manufacturers, 2018 WL 4935453 (E.D. Wash. Oct. 11, 2018). In that case, a claimant
22   filed a motion to dismiss the government’s judicial forfeiture complaint because the
23   notice of the commencement of administrative forfeiture sent by the federal Bureau of
24   Alcohol, Tobacco and Firearms and Explosives (“ATF”), like the FBI Forfeiture
25   Commencement Proceeding Notice here, only stated the date of seizure (December 13,
26   2017), the place of seizure (Spokane, Washington) and the statutory basis (18 U.S.C.
27   § 924(d) [which is the forfeiture trigger statute], 19 C.F.R. §§ 1602-1619, 18 U.S.C.
28   § 983 and 28 C.F.R. Part 8 and 9). (The latter three statutes and regulations are the same

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 1   as those cited in the FBI’s notice; the only difference between the ATF and FBI notices
 2   is that the FBI’s notice cites 18 U.S.C. § 981(a)(1)(C) as the forfeiture trigger statute,
 3   while 18 U.S.C. § 924(d) was the trigger statute cited in the ATF notice). After the ATF
 4   notice was sent, the government filed within the statutory deadline a judicial forfeiture
 5   complaint, which alleged that forfeiture was being sought because of a violation of 18
 6   U.S.C. § 922(g)(3) (i.e., drug user in possession of firearms and possession), which
 7   therefore permitted forfeiture under the forfeiture trigger statute 18 U.S.C. § 924(d).
 8         Like here, claimant relied on Gete and argued that the ATF’s forfeiture notice
 9   violated due process because it did not list the underlying criminal statute violated (18
10   U.S.C. § 922(g)(3)) . Id. at *3. Like here, the forfeiture trigger statute in the ATF notice
11   (18 U.S.C. § 924(d)) allowed for forfeiture based on a long laundry list and broad variety
12   of crimes. 5 Id. The court discussed Gete, rejected claimant’s argument that Gete
13   required additional disclosures in the ATF notice to comply with due process, and denied
14   claimant’s motion to dismiss the government’s judicial forfeiture complaint. The court
15   held “that the absence of an explicit reference to § 922(g)(3) does not render the notice
16   constitutionally deficient. . . . In sum, the Court finds that . . . the notice of administrative
17   forfeiture proceedings was constitutionally sufficient.” Id.
18         Other decisions stand for the general proposition that due process does not require
19   a notice commencing administrative forfeiture proceedings to include the underlying
20   facts and legal grounds for the forfeiture. In Juda v. Nerney, 149 F.3d 1190, 1998 WL
21   317474 (10th Cir. 1998), the U.S. Customs Service sent notices of commencement of
22   administrative forfeiture (id. at *3), and the Tenth Circuit stated “we have found no case
23   law supporting Juda’s suggestion that we require a particularized narrative of allegedly
24   illegal acts [in the notice] . After a review of the record, we agree with the magistrate
25
           5
             18 U.S.C. § 924(d) lists a long list of crimes for which forfeiture is authorized,
26   including 18 U.S.C. §§ 922(a)(4), 922(a)(6), 922(f), 922(g), 922(h), 922(i), 922(j),
     922(k) and 924(c), any drug offense under the Controlled Substances Act (21 U.S.C.
27   § 801 et seq.) and any drug offense under the Controlled Substance Import and Export
     Act (21 U.S.C. § 951 et seq.). See 18 U.S.C. § 924(d)(1) and (3).
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 1   judge’s finding that Juda received constitutionally adequate notice.” Id. at *5.
 2         The facts in the instant case are more closely aligned with those in the United
 3   States Supreme Court’s decision in City of West Covina v. Perkins, 525 U.S. 234
 4   (1999), then the facts in Gete. In City of West Covina, the Supreme Court rejected
 5   plaintiffs’ argument that the City of West Covina’s notice of the procedure for retrieving
 6   their seized property violated due process. Although the City had “notified [plaintiffs] of
 7   the initial seizure and gave them an inventory of the property taken[,]” plaintiffs argued
 8   “the City deprived them of due process by failing to provide them notice of the remedies
 9   and the factual information necessary to invoke the remedies under California law.” Id.
10   at 240. Rejecting that argument, the Supreme Court cited Mullane and held that due
11   process does not require “individualized notice of state-law remedies which, like those at
12   issue here, are established by published, generally available state statutes and case law.
13   Once the property owner is informed that his property has been seized, he can turn to
14   these public sources to learn about the remedial procedures available to him. The City
15   need not take other steps to inform him of his options.” Id. at 240 (citations omitted).
16         The laws and regulations regarding the impact of filings of claims and petitions
17   for remission are clearly set forth in the Forfeiture Commencement Proceeding Notice
18   and in any event are matters of public record. In addition to the decisions discussed
19   above, which unlike Gete and plaintiffs’ other cases actually address forfeiture notices
20   under the 28 C.F.R. Part 8 and 9 regulations involved here, multiple courts have
21   followed City of West Covina’s rationale that the recipient need only be advised of their
22   remedies to seek return of the property and concluded that forfeiture notices under 28
23   C.F.R. Part 8 and 9 regulations comply with due process. See U.S. v. Pickett, 2012 WL
24   694712 (E.D.N.Y. Mar. 1, 2012) (agency’s notice of commencement of administrative
25   forfeiture was lawful because it informed claimant of his remedies to recover his
26   property by filing claim or petition for remission); Mohammad v. U.S., 169 Fed. Appx.
27   475, 482 (7th Cir 2006) (plaintiff’s argument that the DEA’s forfeiture notice was
28   confusing, contradicted the underlying forfeiture statutory scheme and violated

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 1   Mullane’s due process requirements “lacks merit”); In re Search Warrants for 27867
 2   Orchard Lake Rd., 553 F. Supp. 2d 879, 884-85 (E.D. Mich. 2008) (DEA’s notice of
 3   commencement of administrative forfeiture proceedings adequately appraised recipient
 4   of her choice between submitting a claim or petition and therefore did not violate due
 5   process).
 6         The FBI’s notice complies with these requirements. It explains that the
 7   government may grant petitions for remission or mitigation and the recipient may submit
 8   a claim [see Sections I and II], sets forth the deadlines for submitting claims (the date set
 9   forth in the notice) and petitions for remission (30 days after the forfeiture notice is
10   received) [see Sections IB and IIA], advises that both a claim and petition for remission
11   may be filed and explains if only a petition is filed and no one files a claim to an asset,
12   the petition will be decided by the seizing agency [see Section IA and IIG], refers the
13   notice letter recipients to a link where the 28 C.F.R. Part 8 and 9 regulations and a
14   sample petition or claim can be downloaded and explains the link can be used to submit
15   petitions or claims online [see Sections ID, IH and IID] and explicitly states “[a] timely
16   claim stops the administrative forfeiture proceeding. The seizing agency forwards the
17   timely claims to the U.S. Attorney’s Office for further proceedings” [see Sections IIG;
18   see also Jobe Decl. ¶ 9 and 28 C.F.R. § 8.10(e)]. Under the Supreme Court’s decision in
19   City of West Covina, the FBI’s forfeiture notice does not run afoul of due process.
20         Finally, and although not germane here because no petition proceedings are
21   underway, where a petition for remission to an asset is submitted for which no claim has
22   been submitted by the notice letter and internet publication deadlines (which is not the
23   case here as plaintiffs have submitted claims and thereby compelled the FBI to stop the
24   administrative proceedings), then steps will be taken that will ultimately result in a final
25   petition decision as to the property. The FBI will investigate the merits of the petition
26   and submit a written report to the Ruling Official (28 C.F.R. § 9.3(g)), the Ruling
27   Official will then review and consider the report and issue a ruling (id.), and the
28   petitioner is notified of the reasons for the denial of the petition if it is denied and the

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 1   right to submit a request for reconsideration which is decided by a different ruling
 2   official then the one who ruled on the original petition (28 C.F.R § 9.3(i) and (j)(2)). But
 3   no one has pointed to any wrongful conduct as to any FBI petition proceeding here, for
 4   the simple reason that no petitions can even be considered (let alone ruled upon) until all
 5   the claim deadlines have passed without a claim being submitted as to an asset.
 6   III.   PLAINTIFFS HAVE NOT SATISFIED THE IRREPARABLE INJURY
 7          REQUIREMENT FOR PRELIMINARY INJUNCTIVE RELIEF.
 8          A preliminary injunction may not be granted based on a mere possibility of
 9   irreparable harm, even if a plaintiff demonstrates a strong likelihood of success on the
10   merits or the other factors evaluated when deciding a preliminary injunction motion.
11   D.T. v. Sumner County Schools, 942 F.3d 324, 326-27 (6th Cir. 2019) (“even the
12   strongest showing on the other three factors [considered in ruling on a preliminary
13   injunction motion] cannot eliminate the irreparable harm requirement. That factor is
14   indispensable: If the plaintiff isn’t facing imminent and irreparable injury, there’s no
15   need to grant relief now as opposed to at the end of the lawsuit”) (emphasis in original
16   and internal quotation marks and citations omitted). This is because “[i]ssuing a
17   preliminary injunction based only on a possibility of irreparable harm is inconsistent
18   with our characterization of injunctive relief as an extraordinary remedy that may only
19   be awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.
20   Natural Resources Defense Council, Inc., 555 U.S. 7, 22 (2008) (citation omitted); see
21   also Alliance for Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011) .
22   “Speculative injury does not constitute irreparable injury sufficient to warrant granting a
23   preliminary injunction.” Caribbean Marine Services Co., Inc. v. Baldridge, 844 F.2d
24   668, 674 (9th Cir. 1988) (citation omitted).
25          In addition, “[a] plaintiff must do more than merely allege imminent harm
26   sufficient to establish standing; a plaintiff must demonstrate immediate threatened injury
27   as a prerequisite to preliminary injunctive relief.” Id. (citation omitted). Establishing a
28   risk of irreparable harm in the indefinite future is not enough; the harm must be shown to

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 1   be imminent. Midgett v. Tri-County Metropolitan Transp. Dist. Of Oregon, 254 F.3d
 2   846, 850 (9th Cir. 2001) (“[p]laintiff must make a showing that he faces a real or
 3   immediate threat of substantial or irreparable injury”) (citation omitted); Church v. City
 4   of Huntsville, 30 F.3d 1332, 1337 (11th Cir. 1994) (party seeking injunctive relief must
 5   show and prove a real and immediate-as opposed to a merely conjectural or hypothetical-
 6   threat of future injury); Campbell Soup Co. v. ConAgra, Inc., 977 F.2d 86, 91 (3d Cir.
 7   1992) (“a showing of irreparable harm is insufficient if the harm will occur only in the
 8   indefinite future. Rather, the moving party must make a clear showing of immediate
 9   irreparable harm”) (emphasis in original and citation and internal quotation marks
10   omitted). While it is true the deprivation of constitutional rights constitutes irreparable
11   injury (see Melendres v. Arpaio, 695 F.3d 990 (9th Cir. 2012) and Hernandez v.
12   Sessions, 872 F.3d 976 (9th Cir. 2017)), no due process violations have occurred here
13   and plaintiffs are not likely to succeed on the merits, for the reasons set forth above.
14   IV.   CONCLUSION
15         For the reasons set forth above, the government respectfully requests that
16   plaintiffs’ motion for a preliminary injunction be denied.
17   Dated: June 29, 2021                           Respectfully submitted,
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